
Petitioner's motion for clarification is granted and this court's order of October 24, 2018, is hereby vacated. The petition for writ of mandamus is denied because Petitioner could have sought review of the circuit court's order by petition for writ of certiorari. See Fla. R. App. P. 9.030(b)(2)(B) ; Marion County v. Kirk, 965 So. 2d 330, 332 (Fla. 5th DCA 2007) ("When a matter is open to review by certiorari, mandamus is an inappropriate remedy."); Sturdivant v. Blanchard, 422 So. 2d 1028, 1029 (Fla. 1st DCA 1982) (holding that mandamus could not be used to challenge a circuit court's denial of a habeas petition because the order could have been appealed).
CASANUEVA, CRENSHAW, and BLACK, JJ., Concur.
